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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff,            )                 Case No. 19-mj-08237-JPO
                                       )
      v.                               )
                                       )
HUGO A. VILLANUEVA-MORALES,            )
                                       )
                 Defendant.            )
______________________________________ )


                            MOTION TO UNSEAL CASE

      Comes now the United States, by and through David P. Zabel, Assistant United

States Attorney for the District of Kansas, and moves the Court for an order that the above

case in which the Complaint was filed on October 8, 2019, be unsealed, in order to assist

in the apprehension of the defendant.

      WHEREFORE, the United States requests that the Complaint and Arrest Warrant

in the above-captioned case be unsealed.

                                           Respectfully submitted,

                                           STEPHEN R. MCALLISTER
                                           United States Attorney

                                           s/ David P. Zabel
                                           DAVID P. ZABEL, #17887
                                           Assistant United States Attorney
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                                           Kansas City, KS 66101
                                           Tele: 913-551-6730
                                           Fax: 913-551-6541
                                           David.Zabel@usdoj.gov
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                           CERTIFICATE OF SERVICE

      I hereby certify that on November 14, 2019 I presented the foregoing to the clerk

of the court for filing and uploading to the CM/ECF system.



                                               s/David P. Zabel
                                               Assistant U.S. Attorney




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